Dorothy Kiplinger, Chair Committee to Legalize Bingo P.O. Box 2301 Jonesboro, AR 72402
Dear Ms. Kiplinger:
You have requested certification, pursuant to A.C.A. § 7-9-107, of the following popular name and ballot title for a proposed amendment to the Arkansas Constitution:
                              POPULAR NAME  AN AMENDMENT TO LEGALIZE BINGO CONDUCTED BY CERTAIN CHARITABLE ORGANIZATIONS
                              BALLOT TITLE
AN AMENDMENT DECLARING THE GAME OF BINGO CONDUCTED BY CERTAIN CHARITABLE ORGANIZATIONS EXEMPT FROM THE LOTTERY PROHIBITIONS OF THE ARKANSAS CONSTITUTION; PROVIDING FOR THE QUALIFICATIONS OF CHARITABLE ORGANIZATIONS; PROVIDING FOR THE REQUIREMENTS FOR PERMITS; PROVIDING A SEVERANCE AND REPEALING CLAUSE
You have submitted popular names and ballot titles for similar proposed measures, which I rejected on the grounds of certain ambiguities in the texts of the proposed measures. See, e.g., Ops. Att'y Gen. Nos.2000-054, 2000-023, 99-410, and 99-437.
The Attorney General is required, pursuant to A.C.A. § 7-9-107, to certify the popular name and ballot title of all proposed initiative and referendum acts or amendments before the petitions are circulated for signature. The law provides that the Attorney General may substitute and certify a more suitable and correct popular name and ballot title, if he can do so, or if the proposed popular name and ballot title are sufficiently misleading, may reject the entire petition.
A.C.A. § 7-9-107 neither requires nor authorizes this office to make legal determinations concerning the merits of the act or amendment, or concerning the likelihood that it will accomplish its stated objective. Consequently, this review has been limited to a determination, pursuant to the guidelines that have been set forth by the Arkansas Supreme Court, discussed below, of whether the proposed popular name and ballot title accurately and impartially summarize the provisions of your proposed amendment.
The purpose of my review and certification is to ensure that the popular name and ballot title honestly, intelligibly, and fairly set forth the purpose of the proposed amendment. See Arkansas Women's Political Caucusv. Riviere, 282 Ark. 463, 466, 677 S.W.2d 846 (1984).
The popular name is primarily a useful legislative device. Pafford v.Hall, 217 Ark. 734, 233 S.W.2d 72 (1950). It need not contain detailed information or include exceptions that might be required of a ballot title, but it must not be misleading or give partisan coloring to the merit of the proposal. Chaney v. Bryant, 259 Ark. 294, 532 S.W.2d 741
(1976); Moore v. Hall, 229 Ark. 411, 316 S.W.2d 207 (1958). The popular name is to be considered together with the ballot title in determining the ballot title's sufficiency. Id.
The ballot title must include an impartial summary of the proposed amendment that will give the voter a fair understanding of the issues presented. Hoban v. Hall, 229 Ark. 416, 417, 316 S.W.2d 185 (1958); Beckerv. Riviere, 270 Ark. 219, 223, 226, 604 S.W.2d 555 (1980). According to the court, if information omitted from the ballot title is an "essential fact which would give the voter serious ground for reflection, it must be disclosed." Bailey v. McCuen, 318 Ark. 277, 285, 884 S.W.2d 938 (1994), citing Finn v. McCuen, 303 Ark. 418, 798 S.W.2d 34 (1990); Gaines v.McCuen, 296 Ark. 513, 758 S.W.2d 403 (1988); Hoban v. Hall, supra; andWalton v. McDonald, 192 Ark. 1155, 97 S.W.2d 81 (1936). At the same time, however, a ballot title must be brief and concise (see A.C.A. §7-9-107(b)); otherwise voters could run afoul of A.C.A. § 7-5-522's five minute limit in voting booths when other voters are waiting in line.Bailey v. McCuen, supra. The ballot title is not required to be perfect, nor is it reasonable to expect the title to cover or anticipate every possible legal argument the proposed measure might evoke. Plugge v.McCuen, 310 Ark. 654, 841 S.W.2d 139 (1992). The title, however, must be free from any misleading tendency, whether by amplification, omission, or fallacy; it must not be tinged with partisan coloring. Id. A ballot title must convey an intelligible idea of the scope and significance of a proposed change in the law. Christian Civic Action Committee v. McCuen,318 Ark. 241, 884 S.W.2d 605 (1994). It has been stated that the ballot title must be: 1) intelligible, 2) honest, and 3) impartial. Becker v.McCuen, 303 Ark. 482, 798 S.W.2d 71 (1990), citing Leigh v. Hall,232 Ark. 558, 339 S.W.2d 104 (1960).
Having applied the above precepts, I conclude that your proposed popular name is sufficient. However, I conclude that a more suitable, complete, and correct ballot title should be substituted for the one you have proposed. The following is hereby certified in order to insure that the ballot title accurately sets forth the purpose of the proposed amendment:
                              BALLOT TITLE  AN AMENDMENT DECLARING THE GAME OF BINGO CONDUCTED BY CERTAIN CHARITABLE ORGANIZATIONS EXEMPT FROM THE LOTTERY PROHIBITIONS OF THE ARKANSAS CONSTITUTION; PROVIDING THAT IN ORDER TO RECEIVE A PERMIT TO CONDUCT THE GAME OF BINGO, A CHARITABLE ORGANIZATION MUST HAVE BEEN OPERATING IN THE STATE OF ARKANSAS AND QUALIFIED AS A 501(C) ORGANIZATION AND APPROVED BY THE INTERNAL REVENUE SERVICE FOR A PERIOD GREATER THAN FIVE YEARS; PROVIDING FOR PERMITS TO CONDUCT BINGO TO BE ISSUED BY THE DEPARTMENT OF FINANCE AND ADMINISTRATION UPON PRESENTATION TO THE DIRECTOR OF A CERTIFICATE SHOWING APPROVAL BY THE INTERNAL REVENUE SERVICE OF TAX EXEMPT STATUS UNDER SECTION 501(c) FOR A PERIOD GREATER THAN FIVE YEARS, AND UPON PAYMENT OF A $25.00 FEE; PROVIDING FOR SEVERABILITY AND FOR THE INAPPLICABILITY OF CONFLICTING LAWS
Pursuant to A.C.A. § 7-9-108, instructions to canvassers and signers must precede every petition, informing them of the privileges granted by the Constitution and of the penalties imposed for violations of this act. Enclosed herewith, over the signature of the Attorney General, are instructions that should be incorporated in your petition prior to circulation.
Sincerely,
MARK PRYOR Attorney General
Enclosure